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                                      Proposed Order Page 1 of 1



                            UNITED STATES BANKRUPTCY COURT
                        FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 In re:                                          *      Chapter 11

 MIDNIGHT MADNESS                                *      Case No. 21-11750-MDC
  DISTILLING LLC,
                                                 *
                                     Debtor.
                                                 *

 *         *        *         *      *     *     *       *     *       *       *       *       *

     ORDER GRANTING ADMISSION PRO HAC VICE OF PATRICIA B. JEFFERSON

          NOW, this ___ day of _______, 2021, upon consideration of the Motion for Pro Hac Vice

Admission of Patricia B. Jefferson, Esquire, it is ORDERED that the motion is GRANTED and that

Patricia B. Jefferson is admitted pro hac vice to the bar of this Court to represent Millstone Spirits

Group LLC and/or its affiliates in the above-captioned case and any present or future contested matter

or adversary proceeding arising in or related to this case.



                                                        ____________________________________
                                                        Magdeline D. Coleman
                                                        Chief United States Bankruptcy Judge




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